

People v Dawson (2023 NY Slip Op 04733)





People v Dawson


2023 NY Slip Op 04733


Decided on September 26, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 26, 2023

Before: Renwick, P.J., Moulton, Kennedy, Scarpulla, Higgitt, JJ. 


Ind. No. 752/21 Appeal No. 606 Case No. 2023-00026 

[*1]The People of the State of New York, Respondent,
vJerome Dawson, Defendant-Appellant.


Jenay N. Guilford, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Robert Butlien of counsel), for respondent.



Judgment, Supreme Court, New York County (James M. Burke, J.), rendered November 16, 2022, convicting defendant, upon his plea of guilty, of attempted assault in the first degree, and sentencing him to a term of 3½ years, followed by 5 years of postrelease supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Although we do not find that defendant made a valid waiver of his right to appeal, we perceive no basis for reducing the term of postrelease supervision.
Based on our own interest of justice powers, we vacate the surcharge and fees
imposed on defendant at sentencing (see e.g. People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People consent as a matter of prosecutorial discretion. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 26, 2023








